          Exhibit 70




Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 1 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018                ·

 · · · · *** CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ***
 ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT

 ·2· · · · · FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 ·3· · · · · · · · · · · · · ---o0o---

 ·4·   ·STUDENTS FOR FAIR ADMISSIONS,
 · ·   ·INC.,
 ·5
 · ·   · · · · · · · · Plaintiff,
 ·6·   · · · · · · · · · · · · · · · · · ·CIVIL ACTION NO.
 · ·   ·vs.· · · · · · · · · · · · · · · ·1:14-CV-00954-LCB-JLW
 ·7
 · ·   ·UNIVERSITY OF NORTH CAROLINA,
 ·8·   ·et al.,

 ·9· · · · · · · · · Defendants.
 · · ·_____________________________/
 10

 11

 12· · ***** CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER *****

 13

 14· · · · · · DEPOSITION OF CAROLINE M. HOXBY, Ph.D.

 15
 · · ·DATE:· · · · · Wednesday, July 18, 2018
 16

 17· ·TIME:· · · · · 9:11 a.m.

 18
 · · ·LOCATION:· · · 525 University Avenue, Suite 1400
 19· · · · · · · · · Palo Alto, California 94301

 20

 21· ·REPORTED BY:· ·ADRIENNE L. ANDREINI
 · · · · · · · · · · Certified Shorthand Reporter
 22· · · · · · · · · License No. 4804

 23

 24

 25


www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco


    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 2 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 20

 ·1· ·academic preparation and admissions, including a
 ·2· ·student's writing abilities, a student's special
 ·3· ·intellectual abilities, including grade-point averages,
 ·4· ·including class rank, including all kinds of other
 ·5· ·coursework that a student has completed, things like
 ·6· ·that.
 ·7· · · ·Q.· ·Okay.
 ·8· · · · · · So, given that standardized test scores are not
 ·9· ·a full measure, as you said, do you consider any of
 10· ·these other metrics in evaluating race-control
 11· ·alternatives?
 12· · · ·A.· ·Because I needed to focus on an indicator that
 13· ·was going to be relatively consistent across students
 14· ·from different high schools, I did focus on SAT scores
 15· ·and ACT scores as the best indicator available to me.
 16· · · ·Q.· ·Okay.
 17· · · · · · And you said that you do not use high-school
 18· ·GPA or class rank?
 19· · · ·A.· ·In what context?
 20· · · ·Q.· ·I'm sorry.· To measure academic preparedness in
 21· ·the context of race-control alternatives.
 22· · · ·A.· ·I use high-school GPA and class rank in many
 23· ·places in my reports, so it's difficult for me to answer
 24· ·your question, just because I'm not sure, sort of, to
 25· ·which part of the reports you're referring.

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 3 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 21

 ·1· · · ·Q.· ·So, is it fair to say you've used high-school
 ·2· ·GPA and class rank sometimes in assessing the
 ·3· ·workability of race-control alternatives?
 ·4· · · ·A.· ·In order to construct a race-control
 ·5· ·alternative, one of the things that one has to do is to
 ·6· ·try and understand who would apply and who would be
 ·7· ·admitted; and, in those stages, what one might call an
 ·8· ·application model or an admissions model, I certainly do
 ·9· ·use class rank and GPA.
 10· · · ·Q.· ·Okay.
 11· · · · · · Would you see a problem with using GPA or class
 12· ·rank alone aside from standardized test scores?
 13· · · · · · MS. FLATH:· Objection.
 14· · · · · · THE WITNESS:· In the context of a model, or in
 15· ·the context of the outcomes of a plan?
 16· · · · · · MR. McCARTHY:· Q.· In the context of the
 17· ·outcome of a plan.
 18· · · ·A.· ·I see.· Yes, I would think that would be
 19· ·problematic to use class rank or GPA just by itself
 20· ·because different high schools have such different
 21· ·grading standards in the United States, and, therefore,
 22· ·you would not be able -- or, I would not be able to tell
 23· ·whether academic preparation had actually improved or
 24· ·gotten worse, or whether it was merely that I was
 25· ·drawing students from high schools where the grading

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 4 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 22

 ·1· ·curve was more generous or less generous.
 ·2· · · ·Q.· ·Okay.
 ·3· · · · · · Do you have an opinion as to whether it would
 ·4· ·be better to use -- Again, let me back up.· This is
 ·5· ·talking about evaluating the outcomes, the results of
 ·6· ·race-control alternatives.
 ·7· · · · · · Do you have an opinion as to whether it's --
 ·8· ·would be better or worse to consider standardized test
 ·9· ·scores in conjunction with high-school grades or
 10· ·standardized test scores alone?
 11· · · · · · MS. FLATH:· Objection.
 12· · · · · · THE WITNESS:· My opinion would be that it would
 13· ·be better to consider standardized test scores alone,
 14· ·unless one had some ability to put each GPA in -- in a
 15· ·context for which we don't really have any data.
 16· · · · · · So, it's not that I would object to the notion
 17· ·of doing it if we had the data to do it, but those sort
 18· ·of data don't exist on high schools in the United
 19· ·States.
 20· · · · · · MR. McCARTHY:· Q.· Okay.
 21· · · · · · Are you aware that research indicates that
 22· ·high-school GPA is considered the best predictor of
 23· ·college academic performance?
 24· · · ·A.· ·I am aware that there are claims that that is
 25· ·true.

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 5 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 23

 ·1· · · ·Q.· ·Are you aware that -- Are you aware that that
 ·2· ·is the opinion of Jennifer Kretchmar of UNC?
 ·3· · · · · · MS. FLATH:· Objection.
 ·4· · · · · · THE WITNESS:· I believe that's outside my
 ·5· ·assignment.
 ·6· · · · · · MR. McCARTHY:· Q.· Okay.
 ·7· · · · · · She gave testimony in this case -- She's the
 ·8· ·head of the UNC office of information assessment.
 ·9· · · · · · Did you review that deposition in connection
 10· ·with this?
 11· · · ·A.· ·No, I did not.
 12· · · ·Q.· ·Are you familiar with the term "SES" or
 13· ·"socioeconomic status"?
 14· · · ·A.· ·Yes, sir, I am.
 15· · · ·Q.· ·Can you tell me what that refers to.
 16· · · ·A.· ·"SES," if you don't mind my using the
 17· ·abbreviation --
 18· · · ·Q.· ·Please do.· I'm going to use it, too.· We'll
 19· ·know what each other's talking about.
 20· · · ·A.· ·Okay.
 21· · · · · · "SES" is a general term that describes -- to --
 22· ·to describe a person's socioeconomic status, and it can
 23· ·be based on a wide variety of indicators, although some
 24· ·indicators are almost always included in notions of SES.
 25· ·For instance, family income is almost always included in

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 6 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 24

 ·1· ·notions of SES, parents' education.· Often, there are
 ·2· ·additional indicators about someone's neighborhood or
 ·3· ·their environment.· All of those things might be
 ·4· ·included.· But it is not a simple measure, nor is there
 ·5· ·one -- there is no one accepted measure of SES.
 ·6· · · ·Q.· ·Okay.
 ·7· · · · · · In evaluating race-control alternatives in your
 ·8· ·work in this case, you used several different measures
 ·9· ·of SES; correct?
 10· · · ·A.· ·That is correct.
 11· · · ·Q.· ·And you created multiple simulations using
 12· ·SES-based strategies; correct?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·In evaluating those strategies, are you
 15· ·concerned only with the extent to which those strategies
 16· ·helped boost racial and ethnic diversity, or are you
 17· ·also concerned about SES diversity?
 18· · · · · · MS. FLATH:· Objection.
 19· · · · · · THE WITNESS:· My assignment was to evaluate
 20· ·whether alternative plans -- or, rather, how alternative
 21· ·plans would affect racial and ethnic diversity and
 22· ·academic preparation.
 23· · · · · · MR. McCARTHY:· Q.· So, your assignment did not
 24· ·involve assessing the extent to which any race-control
 25· ·alternative you considered advanced socioeconomic

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 7 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 32

 ·1· · · · · · MS. FLATH:· Objection.
 ·2· · · · · · THE WITNESS:· Let's say I wanted to identify
 ·3· ·students who came from households that were in poverty.
 ·4· ·Just to -- want to make sure that --
 ·5· · · · · · MR. McCARTHY:· Q.· Sure.
 ·6· · · ·A.· ·-- getting the question exact.
 ·7· · · · · · My measure for identifying whether a student
 ·8· ·was from a family that was in poverty was an indicator
 ·9· ·for the -- for the student's family being below the
 10· ·federal poverty line, then if that -- if my indicator
 11· ·said that the student's family was below the federal
 12· ·poverty line, and I was trying to identify students who
 13· ·were in poverty, then it would not be a false positive.
 14· ·In fact, I would have no false positives or false
 15· ·negatives in the situation I just described.
 16· · · ·Q.· ·Understood.
 17· · · · · · So, in your reports, consistent with the fact
 18· ·that SES diversity is not part of your assignment, you
 19· ·don't report SES diversity resulting from your outcomes,
 20· ·do you?
 21· · · ·A.· ·I don't.· I do not report results for SES
 22· ·diversity.
 23· · · · · · MS. FLATH:· Objection.
 24· · · · · · Make sure you give me the chance to object
 25· ·before answering.

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 8 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 33

 ·1· · · · · · THE WITNESS:· Okay.
 ·2· · · · · · MR. McCARTHY:· Q.· So, aside from your work
 ·3· ·here, do you have an opinion on whether SES diversity is
 ·4· ·an appropriate goal for a university?
 ·5· · · · · · MS. FLATH:· Objection.
 ·6· · · · · · THE WITNESS:· That's not in my assignment for
 ·7· ·this report -- or these reports.
 ·8· · · · · · MR. McCARTHY:· Q.· Okay.
 ·9· · · · · · So, outside of your assignment for these
 10· ·reports, do you have an opinion?
 11· · · · · · MS. FLATH:· Objection.
 12· · · · · · THE WITNESS:· In my research, my published
 13· ·research, I have certainly written about the admission
 14· ·of economic-disadvantaged students, but -- so, I suppose
 15· ·I have a research interest in it.· I'm not, however, an
 16· ·academic leader or administrator, so I do not have an
 17· ·expert opinion on that.
 18· · · · · · MR. McCARTHY:· Q.· Okay.
 19· · · · · · Can you turn to Page 47 of your opening report.
 20· · · ·A.· ·Yes.
 21· · · ·Q.· ·Do you see Paragraph 134?
 22· · · ·A.· ·Yes.
 23· · · ·Q.· ·The first sentence of Paragraph 134 says:
 24· · · · · · "It is worth reiterating at the outset of
 25· · · ·this section that attaining socioeconomic

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




    Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 9 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 35

 ·1· ·that University of North Carolina does consider it to be
 ·2· ·one of its goals, but I do not have a -- do not have
 ·3· ·what I would call a specific understanding.
 ·4· · · · · · MR. McCARTHY:· Q.· Now, I know that you said
 ·5· ·that you don't have an expert opinion on whether SES
 ·6· ·diversity is an appropriate goal, but just to follow
 ·7· ·from that:· Do you have an opinion on whether increasing
 ·8· ·SES diversity would help a university attain the
 ·9· ·educational benefits of diversity?
 10· · · · · · MS. FLATH:· Objection.
 11· · · · · · THE WITNESS:· Attain the educational benefits
 12· ·of diversity?· Was that the question?
 13· · · · · · MR. McCARTHY:· Q.· Yes.
 14· · · ·A.· ·I don't have an expert opinion on that.
 15· · · ·Q.· ·Okay.
 16· · · · · · I'll hand you a copy of what will be marked as
 17· ·Exhibit No. 4.
 18· · · · · · · · · · · · · ·(Whereupon Plaintiff's Exhibit 4
 19· · · · · · · · · · · · · · was marked for identification.)
 20· · · · · · MR. McCARTHY:· Q.· Can you take a look at that
 21· ·document.
 22· · · ·A.· ·Yes.
 23· · · ·Q.· ·Have you ever seen this document before?
 24· · · ·A.· ·No.
 25· · · ·Q.· ·No.

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




   Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 10 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 59

 ·1· · · ·A.· ·I evaluate each alternative relative to what
 ·2· ·UNC attains actually now under its current plan.
 ·3· · · ·Q.· ·So, that's what I'm asking you to do now with a
 ·4· ·hypothetical one.
 ·5· · · · · · Let's say we're starting from UNC status quo,
 ·6· ·and you evaluated a race-control alternative that would
 ·7· ·increase URM representation by five percent but decrease
 ·8· ·SAT scores by an average of a hundred points.
 ·9· · · · · · Is that one that you would say is workable, not
 10· ·workable?
 11· · · · · · MS. FLATH:· Objection.
 12· · · · · · THE WITNESS:· I can't answer that question
 13· ·within my assignment.
 14· · · · · · MR. McCARTHY:· Q.· Why not?
 15· · · ·A.· ·Because in order to answer that question, I
 16· ·would have to have expertise in knowing what the
 17· ·trade-off between the two -- the two goals were, and
 18· ·that is not in my assignment.
 19· · · ·Q.· ·Okay.
 20· · · · · · So, you don't have expertise in determining how
 21· ·much of an increase in URM representation might outweigh
 22· ·or be outweighed by a decrease in SAT scores?
 23· · · · · · MS. FLATH:· Objection.
 24· · · · · · THE WITNESS:· It's not in my assignment to know
 25· ·what critical mass would be for UNC, so I cannot opine

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




   Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 11 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 60

 ·1· ·on that matter.
 ·2· · · · · · MR. McCARTHY:· Q.· Okay.
 ·3· · · · · · So, if I changed the numbers and said okay,
 ·4· ·same hypothetical, but the URM representation goes,
 ·5· ·let's say, down two percent, and the average SAT score
 ·6· ·goes up 50 points, same answer; you can't evaluate that?
 ·7· · · · · · MS. FLATH:· Objection.
 ·8· · · · · · THE WITNESS:· It's not in my assignment to --
 ·9· ·to evaluate critical mass at UNC.
 10· · · · · · MR. McCARTHY:· Q.· Okay.
 11· · · · · · It is your assignment to evaluate race-control
 12· ·alternatives; correct?
 13· · · ·A.· ·It is in my assignment to predict what would
 14· ·happen under race-neutral alternatives, yes.
 15· · · ·Q.· ·Okay.
 16· · · · · · But you do express opinions in your reports
 17· ·whether you think certain race-control alternatives
 18· ·would be workable, don't ya?
 19· · · ·A.· ·I consistently compare what I predicted under
 20· ·each race-control alternative to UNC's actuals.
 21· · · ·Q.· ·And you did express opinions and say, at times,
 22· ·this race-control alternative would not work; correct?
 23· · · ·A.· ·I say, at various times in the report, this
 24· ·race-neutral alternative is not predicted to achieve
 25· ·UNC's current actuals.

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




   Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 12 of 13
STUDENTS FOR FAIR ADMISSIONS, INC. vs UNIVERSITY OF NORTH CAROLINA, ET AL.
Confidential         Caroline M. Hoxby, PhD. on 07/18/2018          Page 64

 ·1· ·compare to UNC's actuals but not really expressing
 ·2· ·opinion as whether race-control alternative would work
 ·3· ·or not work.
 ·4· · · · · · MS. FLATH:· Objection.
 ·5· · · · · · MR. McCARTHY:· Q.· But this seems to actually
 ·6· ·say that they wouldn't work.· Am I correct about that?
 ·7· · · ·A.· ·In this context, what I mean is that there is
 ·8· ·no race-blind alternative in which I predicted that UNC
 ·9· ·could achieve its actuals.
 10· · · ·Q.· ·Okay.
 11· · · · · · So, that sentence -- I just want to make sure I
 12· ·understand.
 13· · · · · · What that sentence means is that you have not
 14· ·found a race-control alternative that meets UNC's
 15· ·actuals.
 16· · · ·A.· ·I have not found a race-blind alternative that
 17· ·is predicted, under my analysis, to -- to achieve UNC's
 18· ·alternatives.
 19· · · ·Q.· ·Okay.
 20· · · · · · By "actuals" -- We mentioned before levels of
 21· ·URM representation and SAT scores, but are there other
 22· ·actuals that you had in mind as well?
 23· · · ·A.· ·Those are the actuals I looked at throughout my
 24· ·reports.
 25· · · ·Q.· ·Okay.

www.huseby.com                 Huseby, Inc.· Regional Centers                 800-333-2082
        Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco        YVer1f




   Case 1:14-cv-00954-LCB-JLW Document 167-4 Filed 01/18/19 Page 13 of 13
